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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.: 16-14002-CR-ROSENBERG

   UNITED STATES OF AMERICA

   vs.

   JULIUS ANDREW REASON, III.,

         Defendants.
   _________________________/

         SENTENCING MEMORANDUM IN SUPPORT OF A DOWNWARD VARIANCE
                  FROM THE ADVISORY SENTENCING GUIDELINES

           COMES NOW the Defendant, JULIUS ANDREW REASON, III, by and through his

   undersigned counsel, and respectfully files this sentencing memorandum in order to assist the

   Court at the sentencing hearing scheduled for February 28, 2017. [DE 221]. At the time of

   sentencing, the Defendant will be requesting this Honorable Court to vary downward from the

   advisory guideline range computed by this Court and impose a sentence that is sufficient but not

   greater than necessary which is also reasonable in light of the unique facts and circumstances of

   this case. The Defendant suggests that a sentence between 8 to 10 years (96 months to 120

   months) is appropriate.

           Julius Andrew Reason, III., stands before the Court, having plead guilty and accepted

   responsibility for the offenses he committed. He is remorseful for his decisions and apologetic to

   those he has affected by his actions, most importantly his wife. The advisory sentencing

   guideline range as reflected in the PreSentence Investigation Report indicates that the Defendant

   falls into a total offense level of 39 with a criminal history category of VI. [DE 170, ¶126]. The

   advisory guideline range is therefore 360 months to life, which in essence is a life sentence even

   if given the bottom of the guideline range. This is an overly excessive range of punishment,
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   substantively unreasonable to impose and clearly could not have been what the United States

   Legislature nor the Federal Sentencing Commission contemplated. A downward variance is

   certainly in order.

          Pursuant to 18 U.S.C. 3553(a), “[t]he Court shall impose a sentence sufficient, but not

   greater than necessary”. There were no deaths or measurable harms that can directly be

   connected to this Defendant and such a harsh long prison sentence is not consistent with the

   relevant conduct in this case even in the light most favorable to the government.

          As this Court is fully aware, pursuant to United States v. Booker, 543 U.S. 220 (2005),

   the Supreme Court has made it very clear that district courts must consider all of the sentencing

   factors under 18 U.S.C. Section 3553(a)(1)-(7) without giving mandatory weight to the

   sentencing guidelines. Having said this, the following are examples of factors which this

   Honorable Court must consider in ultimately imposing a sentence, notwithstanding the advisory

   guideline range calculated by the Court. In determining a minimally sufficient sentence, Section

   3553(a)(1-7) directs sentencing courts to consider the following factors: These include (1) the

   nature and circumstances of the offense and the history and characteristics of the defendant;

   (2) the need for the sentence imposed to reflect the seriousness of the offense, to promote respect

   for the law, and to provide just punishment for the offense; to afford adequate deterrence to

   criminal conduct; to protect the public from further crimes of the defendant; and to provide the

   defendant with need educational or vocational training, medical care, or other correctional

   treatment in the most effective manner; (3) the kinds of sentences available; (4) the kinds of

   sentence and the sentencing range established for the applicable category of offense committed

   by the applicable category of defendant as set forth in the guidelines; (5) any pertinent policy

   statement issued by the Sentencing Commission; (6) the need to avoid unwarranted sentence
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   disparities among defendants with similar records who have been guilty of similar conduct; and

   (7) the need to provided restitution to any victims of the offense.

                            NATURE AND CIRCUMSTANCE OF THE OFFENSE

          Section 3553(a) directs this Court to consider the nature and circumstance of the offense

   in deciding a sufficient sentence. What makes this case unique is not the importation or

   possession with intent to distribute drugs that originated from a foreign country, but rather the

   type and class of substances that are involved and the current knowledge we have regarding

   them. For decades it has been commonplace for courts to deal with people involved in unlawful

   drugs. Generally speaking, there are plenty of cases that are within the heartland of cases that

   spell out what type and kind of punishment is appropriate. The research has been done and all

   would agree. The case before the Court involves two substances, i.e. Ethylone and Dibutylone.

   These are two relatively new substances. The truth is that there is very little reliable data

   available at this point to make informed decisions as to what is most substantially similar to these

   substances from a chemistry and pharmacological standpoint. Given this lack of reliable data and

   uncertainty at this moment in time, the ratio that the government seeks, to wit: 500:1,

   astonishingly inflates and results in an inconceivable base offense level for these substances. By

   way of comparison, this ratio is even higher than the crack cocaine equivalency of 100 times that

   of powder cocaine which was promulgated by the legislature during the Anti-Drug Abuse Act of

   1986. In the decades since, extensive research by the United States Sentencing Commission and

   other experts has suggested that the differences between the effects of the two drugs are

   exaggerated and that the sentencing disparity is unwarranted. The ratio is now 18:1. See Fair

   Sentencing Act of 2010. Additionally, congress has even eliminated the five-year mandatory

   minimum sentence for possession of crack cocaine. Id. Since the Court’s job is so difficult at
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   weighing all of this complex subject matter, hotly debated by experts on both sides and there is a

   likelihood that additional research by the Sentencing Commission and other experts may yield

   clearer answers; like it did for crack cocaine, to the questions presented by the Court, applying

   the rule of lenity at this time or giving the benefit of doubt to the Defendant based upon

   uncertainty would be most appropriate. If the Court believes that the 500:1 ratio is just too large

   an increase for what is presently known, that would be a legitimate basis to disregard the

   elevated guideline range. see Kimbrough v. United States, 552 U.S. 85, 128 S.Ct. 558, 169

   L.Ed.2d 481 (2007). (Court suggested that the 100 to 1 ratio regarding “crack” created an

   unwarranted disparity with the meaning of § 3553(a) and did not have to apply this ratio in

   imposing sentence). For these reasons alone, a downward variance for Mr. Reason is justified.

          Another factor that this Court can consider in support of varying downward from the

   advisory sentencing guidelines is the fact that although ethylone and dibutylone were designed or

   at least intended to be substitutes for MDEA and MDMA, they are not the same thing. Both sides

   would agree that there are differences, however slight, both structurally and from a

   pharmacological standpoint between ethylone and MDEA and dibutylone and MDMA. In fact,

   while it is the government’s position that Ethylone and Dibutylone were substitutes or

   replacements for these older types of drugs, the Defendant would suggest that they were

   considered by dealers and many users to be “watered down” versions, touted as legal to buy over

   the internet. While Mr. Reason is certainly not a Ph.D in chemistry or pharmacology, his

   understanding that you could openly purchase these types of substances over the internet led him

   to reasonably believe that while they may not have been legal to purchase, they could not be as

   potent as the real thing. In its true form, neither MDMA or MDEA was ever openly offered for

   sale over the internet. Mr. Reason had always considered the substances he imported from China
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   to be the lesser of two evils and like mentioned earlier, a “watered down” version of what was

   previously in high demand. Mr. Reason would in fact, tell the Court first hand, that he had been

   a user of all these drugs and that ethylone and dibutylone were nowhere as potent as traditional

   MDMA nor were the effects the same. Mr. Reason had always experienced another type of

   effect, (i.e. mellow, calm feeling) which is much different than what the government experts

   suggested the effect of these types of drug would be. Mr. Reason, while acting with willful

   blindness, relying on a Chinese computer operator to advise him on the legality of the

   substances, knew that he was skirting the law but at the same time believed he was importing a

   product that probably didn’t measure up to the real thing.

          While subjective belief of a defendant is oftentimes relevant in the guilt phase during a

   trial, See United States v. Tobin, 676 F. 3d 1264 (11th Cir. 2012), it should certainly be a factor

   for this court to consider at sentencing. The subjective understanding and intention of the

   Defendant, (i.e. that he was importing an illegal replacement, less potent “knock-off” drug) is

   relevant to this Court’s determination as to what sentence to impose. See United States v. Oba,

   448 F.2d 892 (9th Cir. 1971).

                        HISTORY AND CHARACTERISTICS OF JULIUS REASON

          For this Court to really know Julius Reason as a person, perhaps the following will give a

   glimpse into his life in support of a downward variance from the advisory guideline range. While

   the Defendant was raised by loving parents and was never neglected as a child, there did come a

   time when things got real bad for him. Let’s just say Julius Reason found himself in a dark place.

   Beginning in 2007, when he should have been accelerating in college, he found himself

   academically ineligible to finish with schooling. Finding himself with financial hardships not

   only effected his schooling but also caused him to get kicked out of a trailer he was residing in.
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   He soon became homeless, forced to live in the backseat of his 1993 Buick LaSabre in a parking

   lot. The dire circumstance of Julius not eating for days at a time during this period prompted him

   to start selling small amounts of drugs; both times are reflected in the PreSentence Investigation

   Report. [DE 170, ¶ 79, 80]. When the Defendant was finally released from jail in June, 2008, he

   decided that he would try to turn his life around and try to pursue something positive again. The

   Defendant started working with his uncle in the Air Conditioning Industry. The company was

   called “In Reason Air Conditioning”. In fact, the Defendant became so motivated to improve his

   life at that time that he started to attend college again in 2008 through 2009. The Defendant

   focused on the air conditioning trade and ultimately received a Certificate in H-VAC in 2009.

   The Defendant still maintains these skills and has the potential to become marketable once again.

   What is also telling of Mr. Reason’s character is that he volunteered hours of his time, helping

   out at places like Habitat for Humanity, Gifford Youth Activity Center and the Gifford Little

   League. On occasion, the Defendant also did volunteer work at Botanical Gardens doing clean-

   up and other landscape work. The Defendant was always very giving, especially to the homeless

   on the streets where he would provide them with a dollar or whatever spare change he had to

   give.

           As luck would have it, the Defendant again hit a dry spell and was primarily unemployed

   from sometime in 2011 through 2013. It was during this time that he met his present wife,

   Venteria Reason. She helped him get on his feet for a little while. The Defendant was desperate

   to work and earn his own money. In fact, the Defendant put in applications to no fewer than 35

   jobs up and down the Space and Treasure Coast, however, to no avail. Having established a good

   relationship with Venteria, Julius gained confidence and believed that he could become

   successful for once in his life. In this spirit, beginning in 2013, the Defendant actually started a
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   lawn service business. He didn’t have many customers and primarily did work for close friends

   and family members. Even though he thought he could turn this into something profitable, it was

   really never enough to support his family and once again Julius found himself wondering what

   he was going to do next.


                                            PRIOR RECORD

          While the Defendant’s prior criminal history is somewhat lengthy by way of the number

   of arrests, it is not utterly egregious and does not deserve to be classified the same way that a

   career offender, which is also category VI would be. This he is not! None of this is to say that the

   Defendant has led a responsible life or has avoided criminal conduct. Defendant’s criminal

   history is calculated to be at a category VI.[DE 86]. A career offender's criminal history

   category in every case is also a Category VI. See USSG 4B1.1(b).

           To put things into perspective, most of his adult record involved either small amounts of

   marijuana, cocaine, alcohol and traffic related offenses dealing with his suspended license. These

   types of crimes are far different than those committed by career offenders or violent habitual

   offenders where courts have imposed severe punishments. The most serious offense the

   Defendant committed, took place back in September, 2007. When he was only 23 years old, he

   received a year in jail for delivering a small amount of crack in which he received $150.00. [See

   PSI DE 170, ¶ 80]. The Defendant happened to be homeless at the time and living out of his car

   in a parking lot when he sold this small amount of drugs to barely get by. While the Defendant

   has been in and out of the county jail system, he has never been considered to be such a threat by

   any judge to serve prison time.

          The mandate of 18 U.S.C. §3553(a) is, of course, for the Court to “impose a sentence

   sufficient, but not greater than necessary, to comply” with the purposes of sentencing set forth in
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   the second paragraph of that same statute. In Rita v. United States, 551 U.S. 338, 347-348

   (2007), the Court summarized the now often-cited factors found in that second paragraph that

   have already been mentioned above. In this case, the overstatement of the Defendant’s criminal

   history resulting in a criminal history category of VI produces a guideline range that, at the very

   least, brutally exceeds what is necessary to provide just punishment, deterrence, incapacitation,

   and rehabilitation.

          In cases such as this where prior criminal history significantly overstates the seriousness

   of the criminal history category, courts have wide discretion to depart downward and sentence a

   defendant in an otherwise applicable guideline range that is more reasonable and just. United

   States v. Moore, 541 F.3d 1323 (11th Cir. 2008). The Defendants prior record are all nonviolent

   offenses and doesn’t necessarily show any particular pattern of escalating criminal conduct that

   suggests a likelihood that the defendant will commit further crimes in the future. There is no

   minimum mandatory sentence that must be imposed in Mr. Reason’s case.

          Even in cases where offenders are designated career offenders, courts have applied these

   same principles and imposed reduced sentences. In United States v. Williams, 481 F.Supp.2d

   1298 (M.D. Fla. 2007), on remand from the Court of Appeals decision at 456 F.3d 1353, the

   court imposed a sentence of 204 months rather than the 262 to 347 months called for by the

   career offender guidelines. Id. at 1305, 1303. In doing so, the court stated:

   In sum, Williams is a street-level dealer of crack cocaine. He is not a king pin, managing a
   large-scale drug enterprise. While the sale of crack cocaine is a serious offense, severity is a
   relative concept, and the guideline sentence of thirty years would be grossly disproportionate to
   the seriousness of the offense.

   Id. at 1304.

   In United States v. Gibson, 442 F.Supp.2d 1279, 1285 (S.D. Fla. 2006), where the career

   offender guidelines advisory range was 360 months to life, the court imposed a sentence of 140
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   months. In doing so, the court relied in part on the nature of the defendant’s prior convictions,

   which largely “consisted of sales between one and three rocks of crack cocaine.” Id. at 1284.

   Similarly, the Defendant’s criminal history consists of 8 points for driving on a suspended

   license and the remaining 8 points as follows: 2 pts – 1 piece of crack; 2 points – sale of $150

   worth of crack; 2 pts - $50 worth of cocaine; and 2pts – misdemeanor amount of marijuana.

                                                 FAMILY LIFE

             The Defendant is currently married to the Co-defendant, Venteria Reason. They met in

   2010 and married in 2014. While they only have one son in common, Julius Amare Reason, age

   3, the Defendant helped raise Venteria’s other two children as if they were his own. Despite the

   situation she finds herself in, having been brought into this offense by her husband, she would

   still tell the Court that she and the Defendant had a good relationship and that the Defendant was

   a great father and stepparent to her own children. [See PSI DE 170, ¶ 100]. The Defendant takes

   full responsibility for getting his wife involved in his wrongdoing and does not want their

   children to suffer or pay the price for his actions. Children growing up without their parents

   poses all kinds of problems. It would be very sad for these children to be any more emotionally

   scarred than they already are and to grow up without either one or both of their parents would be

   horrendous. While the Defendant prays for mercy for himself, he really implores this Honorable

   Court to show leniency for his wife so that she can be out of jail sooner to take care of the

   children. While Venteria Reason plead guilty for her own actions in this matter, the Defendant

   wants the Court to know that he was primarily responsible for getting her involved in the first

   place. The Defendant would even tell this Court that if it meant Venteria Reason getting out of

   jail sooner than later, that he would be willing to be punished more just so the children can be

   raised by their natural parents.
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                                         DETTERENT EFFECT

            Mr. Reason has learned a grave lesson from his bad decisions in this case and it is

   highly unlikely that he would ever repeat this type of conduct again. A lengthy prison term as the

   advisory guidelines suggest is not necessary to “afford adequate deterrence to criminal conduct.”

   18 U.S.C. § 3553(a)(2)(B). Mr. Reason has already lost a lot, having been incarcerated since last

   year. Anything that he accumulated or cherished, including his wife and children are lost. Mr.

   Reason never anticipated or wanted to be a defendant in Federal Court nor would any of his

   family or friends suggest that he was destined for this type of lifestyle. His dreams as a child

   were to be a football player. He attended and graduated high school and began attending college

   with a partial football scholarship, but had to withdraw due to financial reasons. A lengthy prison

   term therefore is not necessary for specific deterrence, as he has already lost everything and must

   start anew. Any need for general deterrence has also been satisfied by the government’s initial

   decision to bring charges in this case. This prosecution and other alike, make it well understood

   that people who purchase these types of substances, even if you could easily purchase them over

   the internet, will not be tolerated. Therefore, a sentence far below the advisory range, even a

   sentence between 8 to10 years (96-120 months) is more than adequate to deter other individual

   from engaging in this type of conduct.

          Despite the troubles of this Defendant and the perception the government draws upon

   him, Julius Reason is otherwise a very personable and likeable person. He has positive attributes

   which give him redeemable value as a person and these individual characteristics should be

   considered by the Court. As the Supreme Court has long recognized, “it has been uniform and

   constant in the federal judicial tradition for the sentencing judge to consider every convicted
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   person as an individual and every case as a unique study in the human failings that sometimes

   mitigate, sometimes magnify, the crime and the punishment to ensue.“ Koon v. United States,

   518 U.S. 81, 113 (1996). With the United States Sentencing Guidelines now rendered “advisory

   only,” a district court has substantial discretion in fashioning a sentence appropriate to the

   individual circumstances of the defendant and the unique facts of the offense. See Kimbrough v.

   United States, 128 S.Ct. 558, 564 (2007). While the Court must consider the guideline range in a

   case, “the Guidelines are not the only consideration.” Gall v. United States, 128 S. Ct. 586, 597

   (2007); see also Kimbrough, 128 S.Ct. at 564 (“the Guidelines, formerly mandatory, now serve

   as one factor among several courts must consider in determining an appropriate sentence.”)

  Clearly, and equally applicable to Mr. Reason is the proposition that the measure of a man should not be

  limited to his worst days and misjudgments. The court so eloquently explained in United States v.

  Adelson, 441 F.Supp.2d 506 (S.D.N.Y. 2006), that:

          But, if ever a man is to receive credit for the good he has done, and his
          immediate misconduct assessed in the context of his overall life hitherto, it
          should be at the moment of his sentencing, when his very future hangs in the
          balance. The elementary principle of weighing the good with the bad, which is
          basic to all great religions, moral philosophers and systems of justice, was
          plainly part of what Congress had in mind when it directed courts to consider,
          as a necessary sentencing factor, the “history and characteristics of the
          defendant.”

                   AVOIDING UNWARRANTED SENTENCING DISPARTIES

          While there have been very little prosecutions for ethylone, there have been no such reported

   cases for dibutylone and this uniqueness makes it more difficult for the Court to consider other

   imposed sentences of similar conduct. One case in particular that involved ethylone, that this Court is

   very familiar with is United States v. Kevin Bully, 15-80068-CR-ROSENBURG. Mr. Bully actually

   contested all of the charges and demanded a jury trial which lasted approximately a week.

   Additionally, Mr. Bully was designated to be a true, “Career Offender” under the law. Not accepting
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   any responsibility in the matter, he received a sentence of 240 months, well below the 360 months to

   life advisory range the Defendant scores.

          Another Ethylone case in this district, which resulted by plea was United States v. Al Tooks,

   15-60216-CR-HULREY. That case involved almost 50 kg of Ethylone as well as 43 kg of Flakka. The

   Court used a 500:1 stipulated ratio for guideline purposes and Mr. Tooks received 151 months

   incarceration. This sentence is also far below what the Defendant is facing. The Defendant is also

   being held responsible for a much lower quantity of drugs than Mr. Tooks.

          In summary, the Federal Sentencing Guidelines through the Sentencing Commission has shown

   great concern for proportionality in sentencing. The Introduction to the Guidelines notes that a primary

   purpose of the Guidelines, and indeed, a significant purpose of all sentencing, is not just to avoid

   disparity in the sentencing of offenders, but also to ensure "proportionality in sentencing through a

   system that imposes appropriately different sentences for criminal conduct of different severity."

   U.S.S.G. § 1A1.1, Introductory cmt. (n.3). The drafters could have avoided disparity all together by

   sentencing all offenders to life imprisonment no matter what they did. But while that would have made

   sentencing uniform across the country, it would have been uniformly disproportionate, not to mention

   grotesquely unfair. In the instant case, the Defendant is facing a 30 year sentence for drug importation

   and distribution at the bottom of the advisory guidelines, a sentence which exceeds the maximum

   punishment for some other very egregious offenses. (i.e. sexual exploitation of children, 18 U.S.C. §

   2251; enticement into slavery, 18 U.S.C. § 1583; terrorism, 18 U.S.C. § 2322; biological weapons, 18

   U.S.C.175c; and even torture, 18 U.S.C. § 2340A. When you put the actions of Julius Reason into

   perspective and weigh his conduct relative to other atrocities taking place in the world, a sentence that

   varies downward from an otherwise artificial high guideline range is clearly warranted.
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          WHEREFORE, the Defendant, JULIUS REASON, respectfully requests that this

   Honorable Court vary downward from the advisory guideline range to impose a sentence

   between 8 to 10 years, (96 – 120 months). This type of sentence is “sufficient but not greater

   than necessary” given all of the circumstances surrounding this case.

                                                 Respectfully submitted by,

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                                                 /S/ Jonathan S. Friedman_________
                                                 JONATHAN S. FRIEDMAN, ESQ.
                                                 FLORIDA BAR NUMBER: 0973297




                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on February 21, 2017, the undersigned attorney electronically

   filed the foregoing document with the Clerk of the Court, United States Attorney's Office, and

   other counsel of record, if any, using CM/ECF and has served same via U.S. Mail to those

   counsel(s) or individuals, if any, who are not authorized to receive electronically Notice of

   Electronic Filing.



                                                        /S/ Jonathan S. Friedman________
                                                        JONATHAN S. FRIEDMAN, ESQ.
